                            Case 2:90-cv-00520-KJM-SCR       Document 6542-1         Filed 03/27/20   Page 1 of 10



                       1                   OFFICES OF

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                                  VALLEY FEVER INTERVENORS
                       10
                       11                      UNITED STATES DISTRICT COURT
                       12                       NORTHERN DISTRICT OF CALIFORNIA
PAVONE & FONNER, LLP




                       13
                             RALPH COLEMAN, et al.,                           CASE NO: 2:90-cv-0520 KJM DB P
                       14
                                           Plaintiffs,                        THREE-JUDGE COURT
                       15    v.
                       16    GAVIN NEWSOM, et al.
                       17                  Defendants.
                                                                              CASE NO: 01-cv-01351-JST
                       18    MARCIANO PLATA, et al.,
                       19                  Plaintiffs,                        THREE-JUDGE COURT
                             v.                                               DECLARATION OF BENJAMIN
                       20
                             GAVIN NEWSOM, et al.                             PAVONE IN SUPPORT OF VALLEY
                       21                                                     FEVER PRISONERS’ REQUEST TO
                                           Defendants.                        INTERVENE AND JOIN PLO
                       22
                                 _________                                    APPLICATION FOR EMERGENCY
                       23    In re VALLEY FEVER inmates,                      RELIEF / SPECIAL PROTECTION
                       24                                                     FROM COVID-19 EPIDEMIC
                                          Intervenors.
                       25                                                     Date: April 1, 2020
                       26
                                                                              Time: 1:15 pm
                                                                              Dept: 6 - 2nd Floor
                       27                                                     Courtroom: 1301 Clay Street,
                       28                                                                  Oakland, CA 94612
                                                                              (Telephonic Hearing Only)

                                                           PLATA, et al. v. NEWSOM, et al – 1
                                       DECLARATION ISO VALLEY FEVER PRISONERS’ JOINDER AND BRIEF
                            Case 2:90-cv-00520-KJM-SCR        Document 6542-1         Filed 03/27/20   Page 2 of 10



                       1          I, Benjamin Pavone, am an attorney licensed to practice in all state and federal
                       2    courts in California. If called to testify, I could and would testify competently to the
                       3    following:
                       4
                       5          1.       Valley fever victims continuously report trouble breathing, in various
                       6    iterations: they cannot take “deep” breaths; they have “shortness” of breath; they have
                       7    congestion and build-up in their lungs and nasal airways; they cough excessively and feel
                       8    like they are choking; and they develop nodules/lesions/masses in their lungs that
                       9    interfere with breathing.
                       10         2.       Difficulty breathing is the leading symptom of valley fever.
                       11         3.       Consequently, valley fever victims are the last group that can afford to be
                       12   afflicted with a second serious disease, one that makes breathing exceptionally difficult.
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                       13         4.       From 2004-2014, there was an epidemic of cocci cases in the California
                       14   prison system. Plaintiffs know of no specific tracking mechanism to isolate the exact
                       15   number of such cases. The condition is well-documented in an inmate’s central medical
                       16   file, particularly after 2013 litigation in this case validated excessive exposure as an
                       17   Eighth Amendment violation. See Plata v. Newson, Dkt. 2661.
                       18         5.       Consequently, the housing placement of valley fever victims, and other
                       19   inmates at high risk in the event of contraction, are filtered through an existing CDCR
                       20   valley fever policy, as reflected by PLO’s summary attached as Exhibit 1.
                       21         6.       Based on incidence rate numbers during the epidemic across the eight most
                       22   endemic prisons, it is estimated that 5,000 prisoners contracted the disease. Undersigned
                       23   counsel’s legal team processed a universe of about 1,500 cases, keeping 270, and we
                       24   were only one of two mass tort valley fever legal efforts.
                       25         7.       At this point, about half of our clients, the Smith plaintiffs, have been
                       26   released, so as a rough extrapolation, there are somewhere around 2,500 prisoners
                       27   currently incarcerated in California that have valley fever. Before the Court are 126 of
                       28   them, as reflected in Appendix A. Appendix A reflects the name, CDCR number, age,


                                                             PLATA, et al. v. NEWSOM, et al – 1
                                       BLP DECLARATION ISO VALLEY FEVER PRISONERS’ REQUEST TO INTERVENE
                            Case 2:90-cv-00520-KJM-SCR       Document 6542-1          Filed 03/27/20   Page 3 of 10



                       1    and symptoms reported by each inmate that relate to the reported CDC high-risk criteria
                       2    for Covid-19. Where known, I identified inmates residing in custodial medical facilities.
                       3          8.       In late 2012, when undersigned counsel first began evaluating valley fever
                       4    cases, there was no immediate discrimination in terms of the nature of the valley fever
                       5    victim’s underlying criminal offense.
                       6          9.       However, with the addition of other lawyers to the team and the magnitude
                       7    of potential cases, a more refined case-acceptance policy was implemented. The team’s
                       8    case selection process evolved to focus on instances of more serious consequences of the
                       9    ailment, along with plaintiffs who possessed a non-violent criminal history.
                       10         10.      We relied on summary reporting from the inmates to this effect; that
                       11   information is not solid enough to make definitive representations to this Court.
                       12   However, inasmuch as a policy relating to something typically returns cases consistent
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                       13   with it, the valley fever pool before the Court should generally conform to the more
                       14   serious VF case criterion and the non-violent criminal history criterion that governed our
                       15   selection process.
                       16         11.      As per the table below, valley fever victims have a uniquely large
                       17   constellation of medical conditions that qualify them as high risk. On top of that, the
                       18   anti-fungal treatment for valley fever typically lowers the victim’s immunity; it is a well-
                       19   known side effect.
                       20
                       21         I hereby declare under penalty of perjury under the laws of the State of California
                       22   that to the best of my knowledge, information and belief, the foregoing is true and
                       23   correct.
                       24
                       25   Date: March 27, 2020                                       \s\Benjamin Pavone, Esq.
                       26
                       27
                       28


                                                             PLATA, et al. v. NEWSOM, et al – 2
                                        BLP DECLARATION ISO VALLEY FEVER PRISONERS’ REQUEST TO INTERVENE
Case 2:90-cv-00520-KJM-SCR   Document 6542-1   Filed 03/27/20   Page 4 of 10




                     EXHIBIT 1
           Case 2:90-cv-00520-KJM-SCR                 Document 6542-1 Filed 03/27/20                            Page 5 of 10
                                                     PRISON LAW OFFICE                                               Director:
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                                             Telephone (510) 280-2621  Fax (510) 280-2704
                                                          www.prisonlaw.com                                          Managing Attorney:
                                                                                                                     Sara Norman

                                                                                                                     Staff Attorneys:

                       Valley Fever and CDCR Housing                                                                 Rana Anabtawi
                                                                                                                     Steven Fama
                                                                                                                     Alison Hardy
                                                      (April 2019)                                                   Sophie Hart
                                                                                                                     Corene Kendrick
                                                                                                                     Rita Lomio
                                                                                                                     M argot M endelson
                                                                                                                     Thomas Nosewicz.
                                                                                                                     Shira Tevah
                                                                                                                     Camille W oods
                                                      Introduction
        Valley Fever (sometimes called “cocci”) is an infection caused by a fungus in the soil that can get into
the air and then inhaled when people breathe. Valley Fever occurs naturally in the lower (southern) part of
California’s central valley and other nearby places. However, most people in those areas do not get infected.
Also, most people who get infected with Valley Fever do not get sick or very sick. However, a small
percentage of people who get Valley Fever get very sick, and some die. See information on page 2 – the
other side of this page.

       There are nine CDCR prisons, plus a few community correctional facilities that house people serving
CDCR sentences, in that part of California where Valley Fever is most common. CDCR policy prohibits
housing people with certain medical conditions in these prisons and facilities because those conditions
increase the risk of getting very sick or dying if the person catches Valley Fever. See page 3 for a list of the
nine CDCR prisons in the Valley Fever area and the medical conditions that prohibit being housed in
those prisons.

        There is an especially high risk of catching and getting very sick or dying from Valley Fever at
Avenal State Prison (ASP) and Pleasant Valley State Prison (PVSP). CDCR has even stricter prohibitions on
who can be housed at those two prisons, as required by a June 2013 federal court order. CDCR offers a skin
test to determine if a person has had Valley Fever before. If the prison hasn’t had it before, they cannot be
housed at ASP and PVSP. People with certain medical conditions are also excluded from the two prisons,
and certain others are too (although some can agree to go or stay). See pages 3 through 5 for information
about who can and cannot be housed at ASP and PVSP, and information about the cocci skin test.

       If you have symptoms that might be caused by Valley Fever (see other side of this page), submit a
medical sick call request (CDCR From 7362) describing the symptoms. If you do not receive adequate
treatment file a medical appeal (602-HC), and pursue it to the Headquarters Level. See page 6 for more
information.

       If you believe you face a serious risk of harm from Valley Fever, including because you are housed in
a prison in the Valley Fever area, you should ask for a transfer and if necessary submit a Form 22 and then an
administrative appeal (602) asking for a transfer. See page 6 for more information.
                                                           Board of Directors
                     Penelope Cooper, President  Michele W alkinHawk, Vice President  Marshall Krause, Treasurer
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           Case 2:90-cv-00520-KJM-SCR          Document 6542-1       Filed 03/27/20     Page 6 of 10
                       Valley Fever Information | Prison Law Office – April 2019– page 2
                                                     +++++

                                Basic Information about Valley Fever

       Valley Fever is a disease caused by a fungus that lives in the soil in certain parts of the world,
including the southern part of California’s central valley. The fungus takes the form of tiny spores (so tiny
they cannot be seen) in the dirt.

       When dirt and dust that has the fungus get disturbed and/or are blown into the air, and people then
breathe in the fungus spores, an infection can start in the lungs. The medical name for Valley Fever is
coccidioidomycosis or cocci.

        Valley Fever is not contagious from person to person. You cannot catch it from another person. To
repeat, a person becomes infected by breathing tiny spores of fungus that live in the dirt and that gets into the
air, including when the wind blows. There is no vaccine that will protect people from getting Valley Fever.

        Most people who live, work, travel in, or are in prison in the southern part of California’s central
valley do not get infected with Valley Fever at all. It is not known why some people get infected and some
do not.

       In addition, most people who get infected with Valley Fever do not get sick at all, or get only mildly
sick. These people will have no symptoms at all or simply feel like they have a cold or a few days of flu
(cough, fever, aches, tiredness), and may not require any treatment at all.

       If you have symptoms, put in a sick call request (CDCR Form 7362) and ask to see a doctor. Of
course, tell any staff member immediately if you have an emergency or urgent medical care problem.

       Approximately ten percent of people infected with Valley Fever get very sick. Among this ten
percent, some develop what is called disseminated Valley Fever, which means the infection travels from the
lungs to other places in the body including the skin, joints, bones, other organs, and brain. Generally, those
who get very sick from Valley Fever have major health problems that can last for years, and some die from
the disease.

       Some people who get infected with Valley Fever have a higher risk of getting very sick from it.
These include people with weakened immune systems. There is also a higher risk of getting very sick if you
are of African or Filipino descent, or a woman in the last months of pregnancy.

       Treatment for Valley Fever depends on many factors. As stated above, some people need no treatment
because the infection does not cause any problems or only mild symptoms that go away on their own. In
other cases, anti-fungal medication is prescribed and controls the disease. In the most serious cases, surgery
and hospitalization is necessary, and the disease can cause death.

       Most people who get Valley Fever have a life-long immunity from getting another Valley Fever
infection. However, the disease can be reactivated or if your immune system is significantly weakened you
can be reinfected.
                                [please see next page for information about
                          Valley Fever and CDCR Prison Placements / Transfers]
                 Valley Fever Information
        Case 2:90-cv-00520-KJM-SCR        | Prison 6542-1
                                       Document    Law Office – April
                                                            Filed     2019– page
                                                                  03/27/20  Page37 of 10
                                               +++++

                                  CDCR Prisons and Valley Fever

                                          1.
                     The Nine Prisons in the Valley Fever Area
        and the CDCR policy prohibiting certain prisoners from all those prisons

        Nine CDCR prisons – Avenal, CCI, CMC, Corcoran, KVSP, NKSP, Pleasant Valley, SATF, and
Wasco – are located in the geographic area where Valley Fever is most common. There are also
community correctional facilities near some of these prisons that house CDCR prisoners. CDCR policy
prohibits housing people in these prisons and facilities if they have certain medical conditions and have not
previously had Valley Fever, because these people face a serious risk of getting very sick or dying if they
catch Valley Fever. The medical conditions which prohibit being housed in all Valley Fever area
prisons are: (1) HIV, (2) history of lymphoma, (3) a transplanted organ, (4) chronic immuno-
suppressive therapy (for example, medication received for severe rheumatoid arthritis), (5) moderate
to severe Chronic Obstructive Pulmonary Disease (COPD) requiring ongoing oxygen therapy, (6)
cancer with chemotherapy; and (7) pregnancy. A person with any of these conditions – it is called a
“Cocci 1” restriction – should usually be transferred out of the nine-prison area within 60 days of being
identified.

                                             2.
                      Special Prohibitions related to Valley Fever at
            Avenal State Prison (ASP) and Pleasant Valley State Prison (PVSP)

       People get Valley Fever much more often at Avenal State Prison (ASP) and Pleasant Valley State
Prison (PVSP) than at the other prisons. Also, people at those two prisons have gotten very sick and even
died from Valley Fever more often than at the other prisons. Also, some types of people (for example,
African-Americans, Filipinos, those designated “medical high risk,” and those who have diabetes) have
gotten very sick from Valley Fever far more often than others. Because of the special risks from Valley
Fever at ASP and PVSP, in June 2013 the federal court in the Plata case ordered CDCR to not house
certain prisoners at those two prisons.

       In addition, in 2014 the federal government’s Center for Disease Control (CDC) recommended that
a Valley Fever/cocci skin test be given to all people who are or could be housed at ASP and PVSP, to find
out which prisoners have never been infected by Valley Fever, and that CDCR should exclude from those
two prisons all people who the skin test shows have never had Valley Fever. This was recommended
because the risk from Valley Fever is much higher in those who have never been infected compared to
those who have had the disease, and the skin test is the best way to find out who has never been infected.

       CDCR implemented the federal recommendations in 2015, and currently offers a cocci skin test to
most all people in prison. Those who test negative (have never had Valley Fever) are prohibited from
being housed at ASP or PVSP.


                               (Information continues on other side of page)
                 Valley Fever Information
        Case 2:90-cv-00520-KJM-SCR        | Prison Law
                                        Document       OfficeFiled
                                                   6542-1      – April 2019 – page
                                                                   03/27/20   Page48 of 10
                                               +++++

        Valley Fever and Placement at Avenal (ASP) and Pleasant Valley (PVSP)
                                     (continued from other side of page)

        The cocci skin test is offered to all new arrivals to CDCR Reception Centers, and has been done so
since January 2015. All those who arrived to CDCR before January 2015 were offered the cocci skin test
in 2015, unless they had a medical condition or other circumstance that already prohibits their placement at
ASP and PVSP (people designated medical “high risk,” re immuno-comprised, women prisoners, and the
condemned). The cocci skin test is voluntary, but if refused it can impact whether you are medically
restricted from placement at ASP and PVSP based on the risk from Valley Fever.

       Under CDCR medical policy, people who take the cocci skin test and have a negative result are
prohibited from placement at ASP or PVSP. A negative skin test means the prisoner has never had Valley
Fever. For those who have never had the disease, there is too great a risk of getting Valley Fever or getting
very sick from it at those two prisons, and so they cannot go there. For the same reason, the new policy
also prohibits certain other prisoners from ASP and PVSP: those designated medical high-risk or immuno-
compromised (they are not even offered a skin test), and those who are African-American, Filipino, or
have diabetes and refused the cocci skin test.

       In contrast, CDCR medical policy provides that people who have a positive cocci skin test are
medically eligible for placement at ASP and PVSP. A positive result means the person already has Valley
Fever. For these people, the federal government CDC and CDCR say there is relatively little risk from
Valley Fever if housed at the two prisons.

        In addition, the CDCR medical policy provides that prisoners who refuse the cocci skin test are
medically eligible for placement at ASP and PVSP, except for African-Americans, Filipinos, or those who
have diabetes. Except for the named exceptions, a refusal results in being medically eligible for the two
prisons because by refusing the skin test, the person is considered to have waived the right not to be placed
in the two prisons if they test negative. Prison medical officials have said that a prisoner who refuses a
cocci skin test can change his mind at any time, and ask to get it.

        African-Americans, Filipinos, or those who have diabetes are offered the cocci skin test but if they
refuse are still medically prohibited from ASP and PVSP. This is because the June 2013 Plata court order
found that such people have an especially great risk from Valley Fever at the two prisons and prohibits
them from being housed there unless they already have Valley Fever. Although these prisoners’ refusal of
the cocci skin test does not change their medical restriction from ASP and PVSP, they can waive that
restriction and go to or stay at ASP and PVSP, if policy does not otherwise prohibit that housing (as it
would if they are designated medical “high risk” or are immuno-compromised, and have not had Valley
Fever.)

         On the other hand, if an African-American, Filipino, or diabetic is offered a cocci skin test and takes
it, the results will determine whether placement is prohibited at ASP and PVSP. If the cocci skin test result
is negative, the prisoner is medically restricted from placement at the two prisons, and no waiver is
possible. If the cocci skin test result is positive, there is no medical restriction on placement at the prisons,
because the positive result shows that the prisoner already has Valley Fever.

                                    (Information continues on next page)
        Case 2:90-cv-00520-KJM-SCR            Document 6542-1       Filed 03/27/20    Page 9 of 10

                     Valley Fever Information | Prison Law Office – April 2019 – page 5

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     Valley Fever and Placement at Avenal (ASP) and Pleasant Valley (PVSP)
                                         (continued from page 4)


      In summary, CDCR’s medical policy PROHIBITS placement at ASP or PVSP if a
person has any of the following factors:

       (1)      offered and taken a cocci skin test, with a negative result (meaning no previous
                Valley Fever infection) designated “medical high risk” on a CDCR 128-C3
                chrono;
       (2)      diagnosed with any of the medical conditions, listed in the first paragraph on
                page 3, that prohibit housing at any of the nine Valley Fever area prisons, unless
                known to have previously had Valley Fever;
       (3)      designated medical “high risk”; or
       (4)      is African-American, Filipino, or has diabetes, unless such prisoner either (a) was
                previously known to have had Valley Fever; (b) agreed take a cocci skin test and
                tested positive, or (c) refused the cocci skin test and signed a medical waiver
                agreeing to stay at or go to ASP or PVSP.

People with any of these factors are said to have a “Cocci 2” restriction and cannot be housed at
ASP or PVSP. Any person at ASP or PVSP identified with such a factor should usually be
transferred to another prison within 60 days of the date a doctor documents the factor.

      On the other hand, CDCR’s medical policy PERMITS placement at ASP or PVSP if a
person has one of the following factors:

       (1)      offered and took a cocci skin test and had a positive result (meaning they have
                had Valley Fever before and thus face a much lower risk from the disease if
                housed at the two prisons);
       (2)      offered a cocci skin test and refused (except for African Americans, Filipinos, or
                diabetics who have not had Valley Fever before); or
       (3)      African American, Filipino, or a diabetic who was offered cocci skin test, refused,
                and signed a medical waiver agreeing to stay at or go to ASP or PVSP.

                                                   +++

        The CDCR medical policy summarized above is designed to reduce the risk from Valley
Fever to prisoners, especially at ASP and PVSP, based on the federal government’s
recommendations and the June 2013 federal court order in Plata. However, Valley Fever still exists
at all nine prisons in the Valley Fever area, including ASP and PVSP.

                                                   +++

             (Please see the other side of this page for advice regarding Valley Fever issues)
        Case 2:90-cv-00520-KJM-SCR          Document 6542-1        Filed 03/27/20     Page 10 of 10


               Valley Fever Information | Prison Law Office – April 2019 – page 6


                               Valley Fever and CDCR – Advice

       If you have symptoms that might be Valley Fever, submit a sick call request (CDCR Form
7362) that describes the symptoms, so that medical staff can evaluate you. Tell any staff member at
any time if you have an emergency or urgent medical problem. If you do not receive timely and
adequate care you should file a medical appeal (602-HC). If your medical appeal is denied, you
should re-file it too the Headquarters Level. You can send the Prison Law Office any Headquarters
Response to a medical appeal, and we will consider whether we can help under the Plata case. You
can write to us at any time if you have an urgent medical care problem, and we will consider if we
can help.

        If you are at one of the nine CDCR prisons in the Valley Fever area, including ASP and
PVSP, and medical policy as described above prohibits you from being at your prison, you should
make sure that medical staff has documented the condition or factor which requires your transfer.
CDCR has 60 days to transfer you once the medical or other factor requiring a Valley Fever transfer
is documented. If this does not happen, talk to your correctional counselor, submit a Form 22, and
file an emergency administrative appeal (602) asking for a transfer. You can also write us here at
Prison Law Office; if you write us please be as specific as possible and include any documents you
have. We will consider whether we can help you under the Plata case. Whether you write us or
not, if your administrative appeal is denied, you should re-file it until you get a final level response.

        If you are put up for transfer to a Valley Fever area prison, including ASP and PVSP, and
medical policy as described above prohibits you from being at the prison to which you will be
transferred, you should talk to medical staff, talk to your correctional counselor, submit a Form 22,
and file an emergency administrative appeal (602) to stop the transfer. You can also write us here at
Prison Law Office; if you write us please be as specific as possible and include any documents you
have. We will consider whether we can help you under the Plata case. Whether you write us or
not, if your administrative appeal is denied, you should re-file it until you get a final level response.

        Finally, if you do not meet the current criteria that restricts placement at certain prisons based
on Valley Fever risk, but believe you face a serious risk of harm from Valley Fever and should not
be housed in or transferred to a particular prison, you should talk to medical staff, talk to your
correctional counselor, submit a Form 22, and file an administrative appeal (602) asking to be
transferred (or not transferred). If the administrative appeal is denied, you should file it until you
get a final level response. You can send the final level response and appeal package to the Prison
Law Office. If you do, we will consider whether we can help you under the Plata case. whether we
can help you under the Plata case.


                                             +++ end +++
